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		OSCN Found Document:IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2019 OK 40Case Number: SCBD-6799Decided: 06/10/2019IN THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 40, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



ORDER OF SUSPENSION FOR NONPAYMENT OF DUES



On May 20, 2019, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to pay dues for the year 2019 as required by the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §1. The Board of Governors recommended that the members whose names appear on the Exhibit A attached to the Application be suspended from membership in the Oklahoma Bar Association and from the practice of law in the State of Oklahoma, as provided by the Rules, 5 O.S. 2011, ch. 1, app. 1, art. VIII, §2.

This Court finds that on April 15, 2019, the Executive Director of the Oklahoma Bar Association notified by certified mail all members delinquent in the payment of dues and/or expense charges to the Oklahoma Bar Association for the year 2019. The Board of Governors have determined that the members set forth in Exhibit A, attached hereto, have not paid their dues and/or expense charges for the year as provided in the Rules.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from the Oklahoma Bar Association membership and shall not practice law in the State of Oklahoma until reinstated.

IT IS THEREFORE ORDERED that the attorneys named as set forth on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to pay membership dues for the year 2019 as required by the Rules Creating and Controlling the Oklahoma Bar Association.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 10TH DAY OFJUNE, 2019.


/S/CHIEF JUSTICE



Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert and Combs, JJ., concur.



&nbsp;


Exhibit A


	
		
			
			Brent Douglas Berry, OBA #18013
			West Ylla Gosney Law Office
			8 S.W. 89th St., Suite 200
			Oklahoma City, OK 73139-8533

			Dochele Burnett, OBA #10749
			P.O. Box 30603
			Midwest City, OK 73140

			Linda Jo Byford, OBA #19754
			Chaparral Energy, LLC
			701 Cedar Lake Blvd.
			Oklahoma City, OK 73114

			Cassandra C. Colchagoff, OBA #16630
			712 N. Lucia Ave., Unit B
			Redondo Beach, CA 90277

			Creighton Coy Collier, OBA #19434
			4618 S. Columbia Pl.
			Tulsa, OK 74105

			Nathan Seth Cross, OBA #22535
			502 W. Sixth Street
			Tulsa, OK 74119

			Scott Wilson Draughon, OBA #2487
			10026-A S Mingo Rd #440
			Tulsa, OK 74133

			Gary Allen Eaton, OBA #2598
			1717 E. 15th Street
			Tulsa, OK 74104

			Jason Lee Eliot, OBA #17613
			9705 E. 33rd
			Jones, OK 73049

			John Nicholas Gerner, OBA #21190
			6303 Belmont Ave.
			Dallas, TX 75214-3627

			Blake Rodman Givens, OBA #14610
			7326 E . 92nd St.
			Tulsa, OK 74133
			
			
			Michael Eric Goldstein, OBA #3443
			16 The Promenade
			New City, NY 10956

			Stacia Keanne Gordon, OBA #20715
			Colorado State Bank &amp; Trust
			1600 Broadway, 3rd Floor Trust
			Denver, CO 80202

			Blakely Chase Hall, OBA #31573
			4366 Maryland Avenue, Apt. 102
			St. Louis, MO 63108

			Patrice Amber James, OBA #33011
			567 E. 36th St. North
			Tulsa, OK 74106-1812

			Nik Jones, OBA #4790
			5105 E. 29th Street
			Tulsa, OK 74114-6303

			Bryan Lynn Kingery, OBA #15507
			P.O. Box 398
			Ada, OK 74821-0398

			Anita Marie Lamar, OBA #30618
			1401 Peachtree Street, Suite A
			Atlanta, GA 30309-3023

			Michael Longley, OBA #5518
			236 W. Coffee Creek Rd.
			Edmond, OK 73025-3000

			Allison Jean Mardis, OBA #20763
			2415 Illinois Ave.
			Joplin, MO 64804-2220

			Norman Kyle Mccallum, OBA #19676
			102 W. Jackson St.
			Hugo, OK 74743-3310

			Ryan Matthew McFarlin, OBA #22232
			401 Exposition Avenue
			Dallas, TX 75226
			
		
		
			
			&nbsp;

			&nbsp;

			Michelle J. Millben, OBA #30403
			107 S. West St.,103
			Alexandria, VA 22314

			Glenda Vernell Mims, OBA #18968
			412 S. Nogales Avenue
			Tulsa, OK 74127

			Anthony George Mitchell, OBA #14004
			207 S. Park
			Hobart, OK 73651

			Kirk Allen Moore, OBA #6344
			1001 Noble Energy Way
			Houston, TX 77070

			Michael Lee Nemec, OBA #6629
			2651 E. 22nd St.
			Tulsa, OK 74114-3129

			Kurt A. Ray, OBA #7435
			4250 N. A1A
			803
			Hutchinson Island, FL 34949

			Maria Kristina Roberts, OBA #18134
			614 Mindora St.
			Pittsburgh, PA 15211-2204

			Barbara Dew Rupert, OBA #2329
			3917 N. W. 70th St.
			Oklahoma City, OK 73116

			Jessica Justine Scruggs, OBA #30423
			3126 South Blvd., Box #342
			Edmond, OK 73013

			Rebecca Ross Seidl, OBA #30425
			BHP Billiton
			1360 Post Oak Blvd., Suite 150
			Houston, TX 77056-3030

			Linda McCarrell Smith, OBA #14896
			1705 Canary Court
			Edmond, OK 73034
			
			
			&nbsp;

			&nbsp;

			Virgil Leroy Smith, OBA #19708
			6709 Abbey Rd.
			Bartlesville, OK 74006

			Mark Edward Truex, OBA #12013
			50 Penn Place, Ste. 1300
			1900 N.W. Expressway
			Oklahoma City, OK 73118-1802

			Kim Lien Underwood, OBA #19243
			1301 Red Bud Ct.
			Moore, OK 73160

			Lester Wade Vance, OBA #16086
			1303 N. Sam Rayburn Fwy.
			Sherman, TX 75090

			Janice Yeary, OBA #11020
			200 N.W. 4th, Rm 2006
			Oklahoma City, OK 73102
			
		
	


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